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                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                             CENTRAL DIVISION

 UNITED STATES OF AMERICA                     *
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                                                    CASE NO. 4:18CR00512-01 SWW
 V.                                           *
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                                              *
 JP SMITH, III                                *
                                              *


       During the pretrial conference in this case held on December 4, 2019, Defendant

requested that his retained attorney, Teresa L. Bloodman, be terminated as counsel of

record. The Court granted Defendant’s request, or oral motion, from the bench and

terminated her representation. This order reduces that ruling to writing and makes

documents proffered by attorney Bloodman exhibits to this order and part of the record.

       Defendant initially qualified for appointed counsel, and the Court appointed CJA

Attorney Crystal J. Okoro and CJA Mentor, Federal Public Defender Lisa G. Peters to

represent him. However, on July 23, 2019, retained counsel Teresa L. Bloodman entered

her appearance on Defendant’s behalf. Recently, the Court learned that on April 1, 2016,

the Executive Director of the Arkansas Supreme Court Committee on Professional

Conduct filed a petition for disbarment against defense counsel, and the petition is still

pending. See Stark Ligon v. Teresa Lynette Bloodman, No. D-16-301. Given this

information, by order entered November 15, 2019, the Court referred the matter of the

appointment of stand-by counsel. The same day, United States Magistrate Judge Patricia


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Harris appointed CJA Attorney Crystal J. Okoro and CJA Mentor, Federal Public

Defender Lisa G. Peters, as stand-by counsel.

       At the beginning of the December 4 pretrial hearing, the Court asked Defendant

whether he was aware of the disbarment proceedings against his retained attorney. Over

attorney Bloodman’s repeated objection, the Court continued its inquiry, and Defendant

indicated that he was not aware of the disbarment proceeding. The Court recessed for

over thirty minutes to provide Defendant an opportunity to review documents filed in the

disbarment proceeding and discuss the matter with his family and attorneys Bloodman,

Okoro, and Peters. When Court resumed, Defendant informed the Court that he wished

to terminate Bloodman’s representation, and the Court granted his oral motion.

       Bloodman voiced strong opposition to the Court addressing the matter of the

disbarment proceedings. Despite the Court’s November 15 order, Bloodman stated that it

was improper for the Court to address the matter because, among other things, it took her

by surprise. However, Bloodman proffered affidavits by Defendant and Defendant’s

father, in addition to a certificate of good standing issued to her by the Clerk of Court on

December 2, 2019, which indicate that Bloodman anticipated that the Court would

address the matter of the pending disbarment proceedings during the pretrial hearing.

The affidavits and certificate of good standing are exhibits to this order.




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       IT IS THEREFORE ORDERED that Defendant’s request (oral motion) to

terminate Attorney Teresa L. Bloodman is GRANTED, and documents proffered by

Bloodman are made exhibits to this order and part of the record in this case.

       IT IS SO ORDERED THIS 5th DAY OF DECEMBER, 2019.

                                                 /s/Susan Webber Wright
                                                 UNITED STATES DISTRICT JUDGE




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